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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 16-cv-00671-RM-NRN

  ISABEL VALVERDE;
  MARIA SONIA MICOL SIMON; and those similarly situated,

  Plaintiffs,

  v.

  XCLUSIVE STAFFING, INC.,
  XCLUSIVE MANAGEMENT, LLC, dba Xclusive Staffing,
  XCLUSIVE STAFFING OF COLORADO, LLC,
  DIANE ASTLEY,
  OMNI INTERLOCKEN COMPANY, L.L.C.,
  OMNI HOTELS MANAGEMENT CORPORATION, and
  MARRIOTT INTERNATIONAL, INC.,

  Defendants.

                                    MINUTE ORDER

  Entered by Magistrate Judge N. Reid Neureiter

         This case is before the Court on the Motion to Quash Subpoena and f or Order to
  Show Cause by Attorney Alexander Hood (Dkt. #293). It is hereby ORDERED that a
  Motion Hearing is set for May 17, 2019 at 9:30 a.m. If Defendants wish to file a
  response, they shall do so on or before May 10, 2019. No reply will be accepted. Any
  party wishing to appear at the Motion Hearing by telephone is given leave to do so as
  long as all such parties jointly contact Chambers (303-335-2403) at the scheduled
  time.

       It is further ORDERED that the subpoena’s May 6, 2019 date of compliance is
  STAYED pending the Court’s final ruling on the subject motion.

  Date: May 3, 2019
